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16
                          IN THE UNITED STATES DISTRICT COURT
17
                                 FOR THE DISTRICT OF ARIZONA
18

19
     United States of America,                       No. CR-18-00422-PHX-SMB
20
                                   Plaintiff.        DEFENDANTS’ REPLY IN SUPPORT
21                                                   OF MOTION TO COMPEL
22       v.                                          DISCOVERY (DOC. 643)

23                                                   Hearing Date: September 13, 2019
                                                     Hearing Time: 11:00 a.m.
     Michael Lacey, et al.,
24
                                                     Hon. Susan M. Brnovich
25                                 Defendants.       Courtroom 506

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 1     I.   INTRODUCTION
 2          The government’s Opposition to Defendants’ Motion to Compel production of a
 3   functioning version of the Backpage databases is an exercise in obfuscation. Instead of
 4   addressing the issue raised in Defendants’ Motion, the government spends pages recounting
 5   its purported production of discovery not at issue in this Motion. On the issue that is raised
 6   in Defendants’ Motion – Defendants’ need for and right to functional databases – the
 7   government misleads the Court, falsely claiming that it produced the servers in the same
 8   condition that “it was seized and received by the government.” (Doc. 696 at 14.)
 9          The government indicted Defendants for their roles in connection with the website
10   Backpage.com. The government alleges that all adult ads on the website were for prostitution
11   or sex trafficking, that the operations and practices of the site were designed to promote or
12   facilitate this by creating ads for illegal conduct or editing ads to hide illegal conduct, and that
13   Defendants each knowingly participated in this. None of this is true, as evidence concerning
14   actual ads and Backpage’s actual practices in screening, blocking, removing, and reporting ads
15   would show. This evidence was available in the Backpage databases and systems as they
16   existed when the government effected its seizures of all the servers beginning in April 2018.
17          The government does not dispute any of this, but instead says that Defendants have
18   had access to “images” of ads and data “in the same format they were received by the
19   government.”     (Doc. 696. at 7.)      Defendants’ Motion showed that the government’s
20   production of “images” is useless, as it amounts to disjointed data with no functionality to
21   search for related information or to analyze and present cumulative data. See Motion at at 9-
22   15 & Exs. H-L (Docs. 643-9 through 643-12). With this reply, Defendants also submit a
23   declaration of Tami Loehrs, an expert in forensic computer evidence, who confirms that the
24   information and data the government has produced to date is not forensically sound and is
25   useless.
26          Pursuant to Defendants’ constitutional and statutory rights, this Court should order
27   the production of the databases in the same functioning condition they were in when the
28   government seized them in April 2018.

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 1       II.   ARGUMENT
 2             a. Defendants Have Sought and Are Entitled To Obtain a Functioning
                  Version of the Backpage.com Website, Databases and Systems.
 3
               Defendants’ Motion sought production of a functioning version of the Backpage.com
 4
     website, databases, and systems, as they existed when the government effected its seizures.
 5
     (Doc. 643.)      The government’s prosecution of Defendants is based entirely on their
 6
     connections to the Backpage.com website. The government alleges that all adult ads posted
 7
     by third parties on the website were for prostitution or sex trafficking, that the operations and
 8
     practices of the website were designed to promote such illegal conduct, and that Defendants
 9
     supposedly knew of or participated in this. The government is prosecuting Defendants for
10
     the operations and practices of the Backpage.com website. Therefore, the actual website,
11
     actual ads as they appeared on the site. actual actions to screen, block and report ads, and the
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     involvement of Defendants (or lack of involvement) is crucially important to this case and the
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     defense. This information was available and readily accessible in the Backpage databases and
14
     systems as they existed when the government seized them. In its Response, the government
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     does not dispute any of this.1
16
               b. The Government’s Opposition is Irrelevant to Defendants’ Motion.
17

18             Defendant’s Motion sought “Backpage servers and the databases and material on those

19   servers, in a functional and operational format.” Motion at 1. Instead of addressing that issue,

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     the government offers arguments purporting to show that it has complied with discovery

21
     obligations generally in ways that have nothing to do with this Motion. Defendants do not

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     agree that the government has complied with its obligations under Rule 16, Jencks, Brady, or

23
     1  Indeed, the government has made clear that functionality of the databases is important in
24   this case. As previously noted, the government included in its search warrant application the
     need to obtain “historical” data and “all versions of an advertisement.” (Doc. 643-4 at 12.)
25   In seeking judicial warrants, the government committed that it would take appropriate steps
     to preserve and not “alter the original evidence” as existed and was accessible on the website,
26   databases and systems. (Id., at 11-12.) Even in its Opposition to the Motion, the government
     relates that it told Danish authorities “to preserve the servers” there in order “to search and
27
     display ads as they would have appeared when the Backpage.com site was active.” (Doc. 696
28   at 6.) The government’s argument that Defendants’ demand for the functioning Backpage
     databases is a “fishing expedition,” (Id. at 9), is utterly disingenuous.
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 1   otherwise, but the issues here are not whether the government has produced emails or “hot”
 2   documents it claims support its case, nor its production of partial exhibit and witness lists.
 3   The issue is the government’s obligation to preserve and produce the Backpage.com website,
 4   databases, and systems in a fully useable form – the data and evidence that lies at the heart of
 5   this case. The government is prosecuting Defendants for publishing a website and admits that
 6   it “seized” that website, but still has not produced it or the data the website and its supporting
 7   databases and systems contained.
 8
            c. The Government’s Assertions That It Has Produced Actual Data and Ads
 9             from the Backpage Website Databases and Systems Are False.
10          The government tells the Court that it has provided Defendants access to “all of the
11   ads and images . . . in the same format they were received by the government.” (Doc. 696 at
12   7). This is not true. When the government seized the Backpage servers containing the
13   databases and systems that ran the website, they were operational and functioning. Personnel
14   from Backpage or the government (or anyone with access) could have reviewed all data and
15   information from the website in a complete, fully functional, easily accessible, and useable
16   format and could have searched, tabulated, analyzed, and compared such data. Days after the
17   government disclosed its original indictment, Defendants asked that the website and all data
18   be preserved in a fully-functional format. (Doc. 643-7.) The government has not produced
19   data in that format. As Defendants set forth in the Motion (Doc. 643) and in the attached
20   declaration of Tami Loehrs (Exh. A), an expert in forensic computer evidence, the “imaged”
21   ad data the government extracted from the Backpage servers and produced to Defendants is
22   useless, as the raw database information and image dumps produced bear no resemblance to
23   ads on the website and it is all but impossible to recreate the ads from that data. Moreover,
24   the data is completely disjointed, bereft of any capability to search for related information (e.g.,
25   about Backpage’s actions to block ads by a user or to report them to law enforcement, etc.) or
26   to analyze and present cumulative data (e.g., to determine the numbers of ads Backpage
27   blocked and removed in a given period, to show that ad text was not edited, etc.).
28          The government inaccurately tries to cast Defendants’ Motion as seeking discovery that

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 1   is different than what the government seized. In reality, the opposite issue is true: the
 2   government is producing the data in a form different than it seized it. The government’s
 3   suggestions to the contrary seem a deceit on the Court.2
 4          d. The Government Demonstrates That It Violated ESI Protocol.
 5          The government goes even further, suggesting that the “Recommendations for
 6   Electronically Stored Information (ESI) Discovery Production in Federal Criminal Cases” (the
 7   “ESI Protocol”)3 support its position. But the opposite is true. First, the ESI Protocol calls
 8   for the parties to meet and confer about the “mechanics of producing ESI discovery.” ESI
 9   Protocol, Principle 3, p. 2. Here, the government made unilateral decisions about producing
10   the Backpage I.T. systems data without consulting Defendants, and despite Defendants having
11   asked days after the original indictment that the website and all data be preserved in a fully-
12   functional format. (Doc. 643-7.) Second, the ESI Protocol provides that “ESI discovery
13   should be done in a manner to facilitate electronic search, retrieval, sorting, and management
14   of discovery information” (ESI Protocol, p. 4)—but the manner in which the government has
15   unilaterally chosen to produce data from the Backpage I.T. systems does the opposite. Third,
16   the ESI Protocol calls for producing data in a form that will meet the goals of “retain[ing] the
17   ESI’s integrity, [] allow[ing] for reasonable usability, and []reasonably limit[ing] costs” (Id., pp.
18   9-10)—but the government has produced the Backpage I.T. system data in a manner that
19   eviscerates the data’s integrity, destroys the data’s usability, and dramatically increases
20   Defendants’ costs. Fourth, the ESI Protocol provides that “ESI received from third parties
21   should be produced in the format(s) it was received or in a reasonably usable format(s)” (Id.,
22   p. 17)—but the government has not produced the Backpage I.T. system data in the form it
23   seized it (functional I.T. systems) or in reasonably usable formats. Finally, although the ESI
24   Protocol provides that “a party should not be required to take on substantial additional
25   processing or formatting conversion costs and burdens” (Id., Principle 5, p. 3)—the
26
     2 Should the government persist in its claim that it produced the system in the “same
27   condition it was seized and received by the government,” Defendants request an evidentiary
     hearing to address whether or not the government did so.
28   3 Available at http://www.uscourts.gov/sites/default/files/finalesiprotocolbookmarked.pdf.

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 1   government seeks to impose exactly such additional costs and burdens on Defendants by not
 2   producing the functional I.T. system. The government’s invocation of standard ESI protocols
 3   simply highlights its deficient handling of Backpage.com servers and the databases and
 4   material that existed on those servers.
 5   III.   CONCLUSION
 6      The Court should compel the government to provide access to Backpage.com’s systems,
 7   servers, databases, and data with the same functionality and in the same condition as they
 8   existed at the time of their seizure. The Court should further compel the government to
 9   provide the data and information requested in Doc. 643-13, except as disclosure of the
10   Backpage.com servers, databases, and systems may allow Defendants themselves to search,
11   obtain, and collect the requested exculpatory data.
12

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 1                                 CERTIFICATE OF SERVICE
 2           I certify that on this 5th day of August 2019, I electronically transmitted a PDF version
 3   of this document to the Clerk of the Court, using the CM/ECF System, for filing and for
     transmittal of a Notice of Electronic Filing to the following CM/ECF registrants listed below.
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